     Case 1:10-cv-06950-AT-RWL Document 1048 Filed 07/28/20 Page 1 of 3




                                                                                   July 28, 2020

Via ECF

The Honorable Robert W. Lehrburger,
    United States District Court for the
        Southern District of New York,
            500 Pearl Street,
                 New York, New York 10007-1312.

              Re:    Chen-Oster, et al. v. Goldman, Sachs & Co., et ano.,
                     No. 10 Civ. 6950 (AT) (RWL) (S.D.N.Y.)

Dear Judge Lehrburger:

               Pursuant to Rule I.F of the Court’s Individual Practices in Civil Cases, and as
indicated in the parties July 27, 2020 Joint Status Report (ECF No. 1046), the parties have
conferred and jointly submit a proposed revised pretrial schedule to the Court.

                                                         Respectfully submitted,

 /s/ Kelly M. Dermody                           /s/ Ann-Elizabeth Ostrager

 Adam T. Klein                                  Robert J. Giuffra, Jr.
 Cara E. Greene                                 Sharon L. Nelles
 Melissa L. Stewart                             Ann-Elizabeth Ostrager
 OUTTEN & GOLDEN LLP                            Hilary M. Williams
 685 Third Avenue, 25th Floor                   Joshua S. Levy
 New York, New York 10017                       Hannah Lonky Fackler
 Telephone: (212) 245-1000                      SULLIVAN & CROMWELL LLP
 Facsimile: (646) 509-2060                      125 Broad Street
                                                New York, New York 10004
 Paul W. Mollica                                Telephone: (212) 558-4000
 161 North Clark Street, Suite 4700             Facsimile: (212) 558-3588
 Chicago Illinois 60601
 Telephone: (212) 809-7010                      Amanda Flug Davidoff
 Facsimile: (312) 809-7011                      Elizabeth A. Cassady
                                                SULLIVAN & CROMWELL LLP
 Kelly M. Dermody (admitted pro hac vice)       1700 New York Avenue, N.W. Suite 700
 Anne B. Shaver (admitted pro hac vice)         Washington, District of Columbia
 Tiseme G. Zegeye                               20006-5215
 LIEFF CABRASER HEIMANN &                       Telephone: (202) 956-7500
        BERNSTEIN, LLP
 275 Battery Street, 29th Floor                 Barbara B. Brown (admitted pro hac vice)
 San Francisco, California 94111-3339           Carson H. Sullivan (admitted pro hac vice)
 Telephone: (415) 956-1000                      PAUL HASTINGS LLP
 Facsimile: (415) 956-1008                      875 15th Street, NW
      Case 1:10-cv-06950-AT-RWL Document 1048 Filed 07/28/20 Page 2 of 3




                                       Washington, DC 20005
 Rachel Geman                          Telephone: (202) 551-1700
 250 Hudson Street, 8th Floor
 New York, New York 10013-1413         Patrick W. Shea
 Telephone: (212) 355-9500             PAUL HASTINGS LLP
 Facsimile: (212) 355-9592             200 Park Avenue
                                       New York, NY 10166
                                       Telephone: (212) 318-6405

Attorneys for Plaintiffs               Attorneys for Defendants




                                     -2-
           Case 1:10-cv-06950-AT-RWL Document 1048 Filed 07/28/20 Page 3 of 3




                                 Chen-Oster v. Goldman, Sachs & Co.
                       No. 10-cv-6950 (S.D.N.Y.) (Torres, J., Lehrburger, M.J.)

                                 JOINT PROPOSED PRE-TRIAL SCHEDULE

                                             Prior Deadline(s)                New Deadline(s)
               Event
                                              (ECF No. 1002)
       Fact discovery completed               August 17, 2020                November 20, 2020
   Opening expert reports, with
 Plaintiffs going first on all issues
   except Goldman’s business                September 29, 2020                January 15, 2021
   necessity defense, for which
 Goldman will file the first report
       Rebuttal expert reports               December 3, 2020                  March 19, 2021

        Reply expert reports                  January 15, 2021                 April 19, 2021

         Expert depositions             Jan. 15, 2021 – Mar. 19, 2021   April 19, 2021 – June 21, 2021

 Completion of expert discovery               March 19, 2021                    June 21, 2021
  Opening briefs for Goldman’s
                                          Daubert: April 9, 2021           Daubert: July 12, 2021
   decert. motion, each party’s
                                          Decert.: April 23, 2021          Decert.: July 22, 2021
summary judgment motion, and/or
                                           MSJ: May 7, 2021                 MSJ: August 9, 2021
  each party’s Daubert motion
                                         Daubert: June 8, 2021          Daubert: Sept. 10, 2021
       Oppositions to motions            Decert.: June 22, 2021          Decert.: Sept. 24, 2021
                                           MSJ: July 8, 2021              MSJ: Oct.. 11, 2021
                                         Daubert: July 8, 2021           Daubert: Oct. 8, 2021
    Replies in further support of
                                         Decert.: July 22, 2021          Decert.: Oct. 25, 2021
               motions
                                          MSJ: August 7, 2021              MSJ: Nov. 8, 2021
                                      30 days after resolution of all 30 days after resolution of all
Pretrial order and motions in limine Daubert, summary judgment and Daubert, summary judgment and
                                             decert. motions                decert. motions1




   1
       Or the next business day if the deadline falls on a weekend or a federal holiday.
